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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 22-cr-115-JFH
Nicole Cox, WAIVER OF JURY TRIAL
Defendant.

COMES NOW the undersigned defendant, and having been fully apprised of my rights, do hereby
WAIVE my SIXTH AMENDMENT RIGHTS to a jury INALL RESPECTS both as to guilt or innocence and

as to sentencing.
Accordingly, I hereby CONSENT that all matters in the above styled and numbered
criminal proceedings be determined by the Court in accordance with Rule 23, Federal Rules of Criminal

Procedure.

Nicole Cox, Defendant ~
VD

Attorney for Defendant

CONSENT OF GOVERNMENT:

' ——<
Assistant United States Attorney

Signed and approved in open court on 1/3/2023.

4 —

Donald D. Bush, Magistrate Judge

Change Plea Magistrate Judge (8/2021)
